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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        PETER TODD,
                                   7                                                     Case No. 4:19-cv-01751-DMR
                                                       Plaintiff,
                                   8
                                                  v.                                     ORDER SETTING FURTHER CASE
                                   9                                                     MANAGEMENT CONFERENCE
                                        SARAH MICHELLE REICHWEIN,
                                  10
                                                       Defendant.
                                  11

                                  12          TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          A Further Case Management Conference is set for March 4, 2020 at 1:30 p.m.,

                                  14   Courtroom 4, 3rd Floor, U.S. District Court, 1301 Clay Street, Oakland, California 94612. Parties

                                  15   shall file a Joint Case Management Statement by no later than February 26, 2020. Parties shall

                                  16   comply with Judge Ryu's Standing Order re: Civil Case Management, available on the court’s

                                  17   website.

                                  18          IT IS SO ORDERED.

                                  19

                                  20   Dated: January 7, 2020
                                                                                      ______________________________________
                                  21                                                   DONNA M. RYU
                                                                                       United States Magistrate Judge
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